      Case 1:21-cv-03781-AT-JSA Document 18 Filed 01/24/22 Page 1 of 12




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

JYQWAVOUS WHITAKER,

             Plaintiff,                           CIVIL ACTION FILE
v.                                                NO. 1:21-CV-03781-AT-JSA

SHERIFF VICTOR HILL, in his
individual and official capacities, as
Sheriff of Clayton County Georgia and
RAYMON SHEROD WINN, in his
individual capacity, as a Clayton County
Officer Sheriff.

             Defendants.


DEFENDANT’S RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION
      TO STRIKE THE DECLARATION OF JASON MARTIN

      Defendant Raymon Sherod Winn (“defendant” or “Officer Winn”) files this

response in opposition to plaintiff’s Motion to Strike the Declaration of Jason

Martin (Doc. 17).

                             I.    INTRODUCTION

      As set forth in Officer Winn’s memorandum of law in support of his motion

to dismiss plaintiff’s complaint, plaintiff never submitted a grievance about the

September 12, 2019 incident he is complaining of in this action, and therefore, his

complaint is barred by the PLRA because he never exhausted his administrative

remedies prior to filing suit. (Doc. 11-1.) Indeed, in plaintiff’s complaint filed on
      Case 1:21-cv-03781-AT-JSA Document 18 Filed 01/24/22 Page 2 of 12




September 13, 2021, he never alleged that he exhausted the administrative

remedies at the Clayton County Jail (“CCJ”) or that the grievance procedure was

unavailable to him. (Doc. 1.) Only after Officer Winn filed his motion to dismiss

on December 2, 2021, did plaintiff begin lodging his excuses for his failure to

adhere to the PLRA. Plaintiff first amended his complaint to allege that “an

administrative remedy” was unavailable to him. (Doc. 23, ¶ 24.) Plaintiff then

filed a response in opposition to Officer Winn’s motion to dismiss wherein he

contended that the administrative remedy was unavailable to him, in part, because

he was in segregation for thirty-nine days where he did not have access to a kiosk

to submit an electronic grievance and that there was no grievance officer in his

pod. (Doc. 14, pp. 8-10; Doc. 13-7, ¶ 31) These assertions were never made by

plaintiff prior to Officer Winn filing his motion to dismiss on December 2, 2021,

and therefore, could not have been addressed by Officer Winn in his initial motion.

(See Doc. 1.)

      To address plaintiff’s newly asserted contentions, Officer Winn properly

submitted a reply brief along with the Declaration of Major Jason Martin (“Major

Martin”) as an attachment. (Doc. 16; Doc. 16-2.) Major Martin agrees with

plaintiff that inmates in disciplinary segregation do not have access to a kiosk;

however, Major Martin attests they have access to paper grievances, which is

another type of grievance identified in the Grievance Procedure attached to Officer


                                       -2-
      Case 1:21-cv-03781-AT-JSA Document 18 Filed 01/24/22 Page 3 of 12




Winn’s initial motion.     (Doc. 16-2, ¶ 4.) (see Doc. 11-2, p. 4) (addressing

“Grievance Form” and “formal written grievance”). Additionally, in response to

plaintiff’s contention that there was “no grievance officer in [his] pod” (Doc. 13-7,

¶ 31), Major Martin attests that there are “correctional officers assigned to

disciplinary segregation at all times.” (Doc. 16-2, ¶ 5.) As highlighted in Officer

Winn’s reply, the Grievance Procedure does not limit verbal discussions to a

grievance officer, but rather, plaintiff can attempt to resolve his grievance

informally “through discussion with an officer.” (Doc. 16, pp. 4-6; Doc. 11-2, p.

4.) Because plaintiff never submitted a written grievance and never attempted to

discuss his grievance with an officer within five days of September 12, 2019,

plaintiff failed to properly exhaust the administrative remedies at the CCJ and his

complaint is therefore barred by the PLRA.

      On the verge of dismissal, plaintiff now files a motion to strike the

declaration of Major Martin. (Doc. 17.) As shown below, plaintiff’s motion to

strike the declaration should be denied for three reasons. First, plaintiff’s motion

to strike is procedurally improper because Major Martin’s declaration is not a

pleading.   Second, Major Martin’s declaration does not contain “redundant,

immaterial, impertinent, or scandalous matter.”          Finally, Major Martin’s

declaration does not submit new arguments, but elaborates on Officer Winn’s

arguments for dismissal under the PLRA in the opening brief and narrowly


                                        -3-
      Case 1:21-cv-03781-AT-JSA Document 18 Filed 01/24/22 Page 4 of 12




addresses plaintiff’s newly asserted contentions in his response and amended

complaint. For these reasons, as discussed more fully below, plaintiff’s motion to

strike should be denied.

           II.    ARGUMENT AND CITATION OF AUTHORITY

A.    Motion to Strike Standard

      “Motions to strike are generally viewed with disfavor” and—more to the

point— “are ‘often considered time wasters.’” TracFone Wireless, Inc. v. Zip

Wireless Prod., Inc., 716 F. Supp. 2d 1275, 1290 (N.D. Ga. 2010) (quoting Tingley

Sys. Inc. v. Bay State HMO Mgmt. Inc., 833 F. Supp. 882, 884 (M.D. Fla. 1993)).

A motion to strike is appropriate only with respect to “a pleading,” Fed. R. Civ. P.

12(f), meaning a “complaint,” an “answer,” or a court-ordered “reply to an

answer,” Fed. R. Civ. P. 7(a) (defining “pleadings”). “Put another way, ‘[m]otions,

briefs or memoranda, objections, or affidavits may not be attacked by the motion to

strike.’” South River Watershed Alliance, Inc. v. DeKalb Cty., 484 F. Supp. 3d

1353, 1362 (N.D. Ga. 2020) (quoting Nelson v. Jackson, No. 1:14-CV-2851, 2016

WL 9454429, at *1 (N.D. Ga. May 18, 2016)). In addition, a motion to strike is

not an all-purpose means of registering disagreement, but a “drastic remedy to be

resorted to only when required for the purposes of justice.” TracFone, 716 F.

Supp. 2d at 1290 (quoting Stephens v. Trust for Pub. Land, 479 F. Supp. 2d 1341,

1346 (N.D. Ga. 2007). It “should be granted only when the pleading to be stricken


                                       -4-
      Case 1:21-cv-03781-AT-JSA Document 18 Filed 01/24/22 Page 5 of 12




has no possible relation to the controversy.” Id. (quoting Stephens, 479 F. Supp. 2d

at 1346) (emphasis added).

B.    Plaintiff’s Motion to Strike Is Not Permitted Because Major Martin’s
      Declaration Is Not A “Pleading”

      Under Rule 12(f) of the Federal Rules of Civil Procedure, courts should

“only ‘strike’ pleadings as defined by Fed. R. Civ. P. 7(a)—i.e. complaints or

answers.” Maddox v. CBE Group, Inc., No. 1:17-CV-1909, 2018 WL 2327037, at

*1 n.1 (N.D. Ga. May 22, 2018).1 Thus, “motions, affidavits, briefs, and other

documents outside of the pleadings are not subject to Rule 12(f).” 5C Charles

Alan Wright et al., Federal Practice and Procedure § 1380 (3d ed. 2021). There is

“no basis in the Federal Rules of Civil Procedure for striking non-pleadings or

portions thereof.” Mintz v. Ingles Markets, Inc., No. 1:13-CV-2140, 2013 WL

12067463, at *6 n.5 (N.D. Ga. Dec. 10, 2013); cf. South River Watershed Alliance,

Inc. v. DeKalb Cty., 484 F. Supp. 3d 1353, 1362 (N.D. Ga. 2020) (“Since Rule 12(f)

only contemplates the striking of a pleading, this court routinely finds that a motion


1
  See also, e.g., Cox v. Clayton Cty. Sch. Dist., 1:17-CV-159, 2018 WL 11149780,
at *1 n.1 (N.D. Ga. May 14, 2018) (same); Downey v. Midland Funding, LLC, No.
1:17-CV-632, 2018 WL 1230584, at *4 n.6 (N.D. Ga. Feb. 20, 2018) (same); Rau
v. Schwizer, 1:10-CV-2678, 2015 WL 12868075, at *12 n.4 (N.D. Ga. Dec. 22,
2015) (same); Perez v. DSI Contracting, Inc., No. 1:14-CV-282, 2015 WL
12618779, at *7 n.4 (N.D. Ga. Jul. 24, 2015) (same); Williams v. Hudson, No.
1:11-CV-3542, 2013 WL 11927707, at *4 (N.D. Ga. Aug. 12, 2013) (same); Auto-
Owners Ins. Co. v. Minor, No. 1:10-CV-3019, 2012 WL 13005360, at *4 (N.D.
Ga. Feb. 10, 2012) (same).
                                        -5-
      Case 1:21-cv-03781-AT-JSA Document 18 Filed 01/24/22 Page 6 of 12




to strike ‘is not the appropriate vehicle for challenging the consideration of

evidence.’” (quoting Green v. ADCO Int’l Plastics Corp., No. 1:17-CV-337, 2017

WL 8810690, at *5 (N.D. Ga. Dec. 27, 2017))).

      Here, Major Martin’s declaration is not a complaint or answer to a

complaint. Accordingly, it is not a “pleading” under Rule 12(f), and the Court

should deny the motion to strike.

C.    Major Martin’s Declaration Is Relevant And Does Not Prejudice
      Plaintiff

      Next, plaintiff’s motion to strike should be denied because Major Martin’s

declaration does not contain “redundant, immaterial, impertinent, or scandalous

matter.” Fed. R. Civ. P. 12(f). Motions to strike are “a drastic remedy”

appropriate only “when required for the purposes of justice.” South River

Watershed Alliance, Inc. v. DeKalb Cty., 484 F. Supp. 3d 1353, 1361 (N.D. Ga.

2020) (quoting TracFone Wireless, Inc. v. Zip Wireless Prod., Inc., 716 F. Supp.

2d 1275, 1290 (N.D. Ga. 2010)). To meet that high standard, the movant must

show that the challenged portions of a pleading have “no possible relation to the

controversy.” Murphy v. Farmer, 176 F. Supp. 3d 1325, 1359 (N.D. Ga. 2016).

      Here, Major Martin’s declaration, on its face, is both relevant and material

to this case and the PLRA grounds for dismissal. (Doc. 16-2.) Moreover, the

declaration is submitted to address contentions made by plaintiff that were never

raised before Officer Winn filed his motion to dismiss. The “purposes of justice”
                                       -6-
      Case 1:21-cv-03781-AT-JSA Document 18 Filed 01/24/22 Page 7 of 12




would not be served by striking Major Martin’s declaration in the context of the

pending PLRA motion and plaintiff’s belated excuses for his failure to comply

with the PLRA. Cf. South River Watershed Alliance, 484 F. Supp. 3d at 1361.

Therefore, plaintiff’s motion to strike should be denied.

D.    The Declaration Addresses Contentions Made By Plaintiff In His
      Amended Complaint And Response Brief And Elaborates Arguments
      Raised By Officer Winn In His Initial Brief

      Finally, Major Martin’s declaration was properly submitted in conjunction

with Officer Winn’s reply brief.       The declaration elaborates Officer Winn’s

argument for dismissal under the PLRA, which is detailed in his opening brief, and

plaintiff’s newly asserted contentions in his response and amended complaint.

District courts have routinely considered declarations when they reply to

arguments raised in a plaintiff’s response to a motion. By way of example, in

Roberts v. Fulton Cty. Ry., LLC, No. 1:07-CV-2416-TWT, 2008 U.S. Dist. LEXIS

98047, at *16 (N.D. Ga. Dec. 2, 2008), Judge Thomas W. Thrash Jr. denied a

plaintiff’s motion to strike a second declaration filed by a defendant in support a

motion for summary judgment, finding that there was “nothing that prohibits the

Defendant from filing a second declaration, especially when the declaration only

replies to arguments raised by the Plaintiff's Response.”

      Here, after Officer Winn filed his motion to dismiss on December 2, 2021

asserting grounds for dismissal under the PLRA based on plaintiff’s failure to


                                        -7-
      Case 1:21-cv-03781-AT-JSA Document 18 Filed 01/24/22 Page 8 of 12




submit a grievance, plaintiff amended his complaint to allege, for the first time,

that “an administrative remedy” was unavailable to him. (Doc. 23, ¶ 24.) Plaintiff

also filed his response brief at that time asserting that he did not have access to a

kiosk in segregation to submit an electronic grievance and that there was no

grievance officer in his pod while he was in segregation. (Doc. 14, pp. 8-10; Doc.

13-7, ¶ 31.) Plaintiff never made these contentions prior to Officer Winn’s

motion to dismiss.

      Officer Winn timely submitted his reply brief in support of his motion to

dismiss and attached thereto the declaration of Major Martin. In Major Martin’s

declaration, he agrees with plaintiff that inmates in disciplinary segregation do

not have access to a kiosk; however, Major Martin attests they have access to

paper grievances. (Doc. 16-2, ¶ 4.) The declaration elaborates on the written

grievances and Grievance Form that were already addressed in the Grievance

Procedure attached to Officer Winn’s initial motion.        (See Doc. 11-2, p. 4)

(addressing “Grievance Form” and “formal written grievance”). Additionally, in

response to plaintiff’s contention that there was “no grievance officer in [his]

pod” (Doc. 13-7, ¶ 31), Major Martin attests that there are “correctional officers

assigned to disciplinary segregation at all times” (Doc. 16-2, ¶ 5), which provides

additional context to the Grievance Procedure (again already in the record) that

provides that inmates are to attempt to resolve any grievance informally “through


                                         -8-
      Case 1:21-cv-03781-AT-JSA Document 18 Filed 01/24/22 Page 9 of 12




discussion with an officer.” (Doc. 16, pp. 4-6; Doc. 11-2, p. 4.) There is no

mention of any requirement in the Grievance Procedure that this informal

discussion be directed to someone designated as a “grievance officer,” as plaintiff

erroneously contends.

      In sum, plaintiff’s motion to strike should be denied, and Major Martin’s

declaration considered. The declaration does not set forth new facts or arguments

raised for the first time. Rather, the declaration: (1) elaborates Officer Winn’s

position that plaintiff did not comply with the Grievance Procedure and did not

submit a grievance, all of which were detailed in his opening brief, and (2)

narrowly replies to arguments raised by plaintiff in his response. Therefore,

plaintiff’s motion to strike should be denied. See, e.g., Wilson v. Groblewski,

2021 DNH 184 n.18 (U.S. Dist. Ct., NDNH, Dec. 3, 2021) (“The court properly

considers Susca’s declaration because it does not set forth new facts or arguments.

Rather, the defendants reasonably use the declaration as a vehicle to elaborate on

their position, which was detailed in their opening brief, that NHSP staff responded

to Wilson’s Level I Grievance, and Wilson did not appeal this response.”);

Lightsey v. Potter, 268 Fed. App’x 849, 852 (11th Cir. 2008) (holding that district

court did not err in considering a declaration attached to defendant’s reply to

motion for summary judgment where other party never requested leave to file




                                        -9-
     Case 1:21-cv-03781-AT-JSA Document 18 Filed 01/24/22 Page 10 of 12




surreply or a supplemental appendix in response to new declaration). See also

Roberts, 2008 U.S. Dist. LEXIS 98047, at *16.

                              III.   CONCLUSION

      Plaintiff’s motion to strike the declaration of Major Martin should be denied

because it is meritless. It is undisputed that plaintiff never submitted a grievance

at the CCJ regarding the conduct alleged in this lawsuit and never utilized the

appeals process. As shown in the briefing on defendant’s motion to dismiss,

plaintiff’s complaint should be dismissed under the PLRA.

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                                       - 10 -
     Case 1:21-cv-03781-AT-JSA Document 18 Filed 01/24/22 Page 11 of 12




                     CERTIFICATE OF COMPLIANCE

      I hereby certify, pursuant to Local Rule 7.1(D), that the foregoing

memorandum of law has been prepared in accordance with Local Rule 5.1(C)

(Times New Roman font, 14 point).

      This 24th day of January, 2022.

                                        FREEMAN MATHIS & GARY, LLP


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     Case 1:21-cv-03781-AT-JSA Document 18 Filed 01/24/22 Page 12 of 12




                          CERTIFICATE OF SERVICE

      I hereby certify that I have served the foregoing DEFENDANT’S

RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION TO STRIKE

THE DECLARATION OF JASON MARTIN to the Clerk of Court using the

CM/ECF system which will automatically send electronic mail notification of such

filing to counsel of record:

                                    Wayne B. Kendall
                                    Kimberly Ellison
                                 Wayne B. Kendall, P.C.
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      This 24th day of January, 2022.


                                         /s/ A. Ali Sabzevari
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